        Case 2:09-cr-20026-PKH Document 185                              Filed 02/01/12 Page 1 of 1 PageID #: 592
AO 247(Rev. I l/l l) OrderRegarding
                                  Motionf'orScntence
                                                   Re{uctionPursuant
                                                                  to l8 U.S.C.$ f SSZ("XZ)               PagcI of2 (Page2 Not for PublicDisqlosurc)


                                      U}ilTnD STATES
                                                   DISTRICT
                                                          COUnT
                                                                    for the
                                                   Western         District of        Arkansas

                  United Statesof Amenca

                                                                           CaseNo: 2:09-CR-20026-001
                             CleonisDean
                                                                           USM No: 09077-010
Dateof OriginalJudgment:        Februarv22.2010
Dateof PreviousAmendedJudgment:                                            JamesB. Pierce
(Use Date of Last AmendedJudgment if Any)                                  Defendant's Attorney


                 ORDER RBGARDING MOTION FOR SENTEI\CE ITBDUCTION
                          PURSUAI{TTO l8 U.S.C.$ 3s82(c)(2)
      Uponmotionof E ttredefendantn theDirectorof theBureauof Prisons! ttrecourtunderl8 U.S.C.
$ 3582(c)(?)
          for a reduction in theterrnof imprisonmerrt
                                                    imposed  basedon a guideline
                                                                               sentencing rangethathas
           beenlowered
subsequently             andmaderetroactive  by theUnitedStates Sentencing  Commission pursuant
                                                                                              to ?8 U.S.C.
$ 994(u),
       andhavingconsidcred     suclr
                                   motion,and taking iuto accountthe policy
                                                                          statementsetforthatUSSG  $lBl.l0
andthesentencing factorssetforthin l8 U.S.C.$ 3553(a), to theextentthattheyareapplicable,
IT IS ORDEREDthatthemotionis:
       n nghftnp. tr CRANTEDandthedefendarrt's
                                           previously
                                                    imposed                   (asreflected
                                                                 of imprisonment
                                                          sentence                      in
the lastjudgmenl issueQ of                    t08                  monthsis reducedto
                                           (Complete Parts I and ll af' Page2 wlrcn notion is granled)




                                                                                                     _-   grsTRrcTcorrR.T
                                                                                                      * _uE
                                                                                                     WESTERN         Di ST ANX,q,I-iS
                                                                                                                                    NS
                                                                                                                     FILED
                                                                                                                FEEfi I 2|/I2
                                                                                                         CryRISR. JOFINSON,
                                                                                                                         Cterk
                                                                                                          By
                                                                                                                   DrputyClcrk




Exceptas otherwiseprovided,allprovisionsof thejudgment                                                      shall remain in effect.
IT IS SO ORDERITD.

OrderDate;                      1,2012
                         February
                                                                                                Judge's signo,ture


EffectiveDate:                                                           Honorable                           -      Judge
                                                                                 RobertT. Dawson,UnitedStatesDistrict
                   fif iittiriiliim   orderdatel                                              iaii-eandtitt,
                                                                                       Printe,tt
